         Case 24-22548-CMG                        Doc 1      Filed 12/22/24 Entered 12/22/24 17:37:06                              Desc Main
                                                            Document      Page 1 of 14
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                    New Jersey
 ____________________ District of _________________
                                        (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                                    Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               CCA Construction, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used              China Construction America, Inc.
                                              ______________________________________________________________________________________________________
      in the last 8 years                       d.b.a. ProServ Shared Services
                                              ______________________________________________________________________________________________________
                                                d.b.a. Plaza Construction
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                1 ___
                                              ___ 3 – ___
                                                       3 ___
                                                          7 ___
                                                             7 ___
                                                                4 ___
                                                                   8 ___
                                                                      6 ___
                                                                         2
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business

                                               445 South Street, Suite 310
                                              ______________________________________________              _______________________________________________
                                              Number     Street                                           Number     Street

                                              ______________________________________________              _______________________________________________
                                                                                                          P.O. Box

                                               Morristown                 NJ       07960
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code

                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                               Morris
                                              ______________________________________________
                                              County                                                      _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                   www.chinaconstruction.us
                                              ____________________________________________________________________________________________________




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
          Case 24-22548-CMG               Doc 1        Filed 12/22/24 Entered 12/22/24 17:37:06                             Desc Main
                                                      Document      Page 2 of 14
               CCA Construction, Inc.
Debtor        _______________________________________________________                     Case number (if known)_____________________________________
              Name




 6.   Type of debtor                     Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                         Partnership (excluding LLP)
                                         Other. Specify: __________________________________________________________________

                                        A. Check one:
 7.   Describe debtor’s business
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         None of the above

                                        B. Check all that apply:

                                         Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                           § 80a-3)
                                         Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                           2 ___
                                           ___ 3 ___
                                                  6 ___
                                                     2             Nonresidential Building Construction
 8.   Under which chapter of the        Check one:
      Bankruptcy Code is the
      debtor filing?                     Chapter 7
                                         Chapter 9
                                         Chapter 11. Check all that apply:
                                                       Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                            insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                            4/01/25 and every 3 years after that).
                                                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                            debtor is a small business debtor, attach the most recent balance sheet, statement
                                                            of operations, cash-flow statement, and federal income tax return or if all of these
                                                            documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                            chooses to proceed under Subchapter V of Chapter 11.

                                                         A plan is being filed with this petition.
                                                         Acceptances of the plan were solicited prepetition from one or more classes of
                                                            creditors, in accordance with 11 U.S.C. § 1126(b).

                                                         The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                            Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                            Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                            for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                         The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                            12b-2.
                                         Chapter 12
 9.   Were prior bankruptcy cases        No
      filed by or against the debtor
      within the last 8 years?           Yes. District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                              District _______________________ When _______________ Case number _________________________
                                                                                        MM / DD / YYYY


 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 2
         Case 24-22548-CMG                Doc 1       Filed 12/22/24 Entered 12/22/24 17:37:06                                 Desc Main
                                                     Document      Page 3 of 14
Debtor         CCA Construction, Inc.
              _______________________________________________________                      Case number (if known)_____________________________________
              Name



 10. Are any bankruptcy cases            No
     pending or being filed by a
     business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
     affiliate of the debtor?                     District _____________________________________________ When               __________________
     List all cases. If more than 1,                                                                                        MM / DD / YYYY
     attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this      Check all that apply:
     district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                         A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have         No
     possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
     that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
     attention?
                                                  It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard? _____________________________________________________________________

                                                  It needs to be physically secured or protected from the weather.
                                                  It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                  Other _______________________________________________________________________________


                                                 Where is the property?_____________________________________________________________________
                                                                           Number          Street

                                                                           ____________________________________________________________________

                                                                           _______________________________________         _______ ________________
                                                                           City                                            State ZIP Code


                                                 Is the property insured?

                                                  No
                                                  Yes. Insurance agency ____________________________________________________________________
                                                          Contact name     ____________________________________________________________________

                                                          Phone            ________________________________




             Statistical and administrative information



 13. Debtor’s estimation of             Check one:
     available funds                     Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         1-49                            1,000-5,000                              25,001-50,000
 14. Estimated number of
                                         50-99                           5,001-10,000                             50,001-100,000
     creditors
                                         100-199                         10,001-25,000                            More than 100,000
                                         200-999

 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
         Case 24-22548-CMG                   Doc 1         Filed 12/22/24 Entered 12/22/24 17:37:06                                Desc Main
                                                          Document      Page 4 of 14
Debtor       CCA Construction, Inc.
            _______________________________________________________                             Case number (if known)_____________________________________
            Name



                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                              petition.
     debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                         12/22/2024
                                             Executed on _________________
                                                         MM / DD / YYYY


                                              /s/ Yan Wei
                                              _____________________________________________                 Yan Wei
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                     Chairman and Chief Executive Officer
                                             Title _________________________________________




 18. Signature of attorney
                                              /s/ Michael D. Sirota
                                              _____________________________________________               Date         12/22/2024
                                                                                                                      _________________
                                              Signature of attorney for debtor                                        MM    / DD / YYYY



                                              Michael D. Sirota
                                             _________________________________________________________________________________________________
                                             Printed name
                                               Cole Schotz P.C.
                                             _________________________________________________________________________________________________
                                             Firm name
                                              Court Plaza North, 25 Main Street
                                             _________________________________________________________________________________________________
                                             Number     Street
                                              Hackensack
                                             ____________________________________________________             NJ
                                                                                                             ____________  07601
                                                                                                                          ______________________________
                                             City                                                            State        ZIP Code

                                               (201) 525-6262
                                             ____________________________________                             msirota@coleshotz.com
                                                                                                             __________________________________________
                                             Contact phone                                                   Email address



                                              014321986
                                             ______________________________________________________  NJ
                                                                                                    ____________
                                             Bar number                                             State




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
Case 24-22548-CMG               Doc 1      Filed 12/22/24 Entered 12/22/24 17:37:06                      Desc Main
                                          Document      Page 5 of 14



                               UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF NEW JERSEY


    In re:                                                  Chapter 11

    CCA Construction, Inc.,1                                Case No. 24-_______ (___)

                                      Debtor.


                                LIST OF EQUITY SECURITY HOLDERS

             The following is a list of the above-captioned debtor’s equity security holders. This list

has been prepared in accordance with Fed. R. Bankr. P. 1007(a)(3) for filing in this chapter 11

case.

                                                                                        Percentage of Interests
               Holder Name                     Mailing Address of Holder
                                                                                                Held
    CSCEC Holding Company, Inc.                 445 South Street, Suite 310                        100%
                                                  Morristown, NJ 07960




1
      The last four digits of the Debtor’s federal tax identification number are 4862. The Debtor’s service address for
      the purposes of this chapter 11 case is 445 South Street, Suite 310, Morristown, NJ 07960.
Case 24-22548-CMG             Doc 1      Filed 12/22/24 Entered 12/22/24 17:37:06                      Desc Main
                                        Document      Page 6 of 14



                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF NEW JERSEY


In re:                                                   Chapter 11

CCA Construction, Inc.,1                                 Case No. 24-_______ (___)

                                   Debtor.


                             CORPORATE OWNERSHIP STATEMENT

         The following are corporations, other than a governmental unit, that directly or indirectly

own 10% or more of any class of the Debtor’s equity interests. This list has been prepared in

accordance with Fed. R. Bank. P. 1007(a)(1) and Fed. R. Bankr. P. 7007.1 for filing in this

chapter 11 case.

                    Holder Name                                 Percentage of Equity Interests Held

         CSCEC Holding Company, Inc.                                                100%




1
    The last four digits of the Debtor’s federal tax identification number are 4862. The Debtor’s service address for
    the purposes of this chapter 11 case is 445 South Street, Suite 310, Morristown, NJ 07960.
          Case 24-22548-CMG                         Doc 1         Filed 12/22/24 Entered 12/22/24 17:37:06                       Desc Main
                                                                 Document      Page 7 of 14
 Fill in this information to identify the case and this filing:


 Debtor Name: CCA Construction, Inc.

 United States Bankruptcy Court for the District of New jersey

 Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:



          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule
         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         Other document that requires a declaration: Corporate Ownership Statement and List of Equity Security Holders

         I declare under penalty of perjury that the foregoing is true and correct.


         Executed on       12/22/2024                             /s/ Yan Wei
                           MM / DD / YYYY                           Signature of individual signing on behalf of debtor



                                                                     Yan Wei
                                                                    Printed name

                                                                     Chairman and Chief Executive Officer
                                                                    Position or relationship to debtor



Official Form 202                               Declaration Under Penalty of Perjury for Non-Individual Debtors
             Case 24-22548-CMG                   Doc 1       Filed 12/22/24 Entered 12/22/24 17:37:06                                  Desc Main
                                                            Document      Page 8 of 14

      Fill in this information to identify the case:

                   CCA Construction, Inc.
      Debtor name __________________________________________________________________

                                                                                 New Jersey
      United States Bankruptcy Court for the: ______________________ District of _________

      Case number (If known):   _________________________
                                                                              (State)
                                                                                                                                           Check if this is an
                                                                                                                                              amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                  12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and      Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code    email address of creditor        (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                            contact                          debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated, total claim amount and deduction for value of
                                                                             services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if   Deduction for      Unsecured
                                                                                                                   partially         value of           claim
                                                                                                                   secured           collateral or
                                                                                                                                     setoff

1     BML Properties, Ltd                   Bill Carmody               Litigation                  Contingent                                          $1,642,598,493
      Susman Godfrey LLP                    Tel: (212) 336-8330                                    Unliquidated
      One Manhattan West, 50th Floor        Fax: (212) 336-8340                                    Disputed
      New York, NY 10001                    bcarmody@susmangodfrey.com

      Marina Pointe East Developer, LLC     Ty G. Thompson                    Litigation           Contingent                                           Unliquidated
2                                           Tel: (813) 229-3500
      Paskert Diver Thompson                                                                       Unliquidated
      100 North Tampa Street, Suite 3700    tthompson@pdtlegal.com                                 Disputed
      Tampa, FL 33602                       mlewis@pdtlegal.com
                                            rgraham@pdtlegal.com

3     Swiss Re Corporate Solutions          Lanlan Chen                      Surety Bond           Contingent                                           Unliquidated
      1450 American Lane, Suite 1100        Tel: (908) 283-1849                                    Unliquidated
      Schaumburg, IL 60173                  Lanlan.chen@wtw.com


4     Euler Hermes North America            Lanlan Chen                       Surety Bond          Contingent                                           Unliquidated
      Insurance Company                     Tel: (908) 283-1849                                    Unliquidated
      800 Red Brook Boulevard               Lanlan.chen@wtw.com
      Owings Mills, MD

5     American International Companies      Lanlan Chen                       Surety Bond          Contingent                                           Unliquidated
      Principal Bond Office                 Tel: (908) 283-1849                                    Unliquidated
      175 Water Street                      Lanlan.chen@wtw.com
      New York, NY 10038

6     Crum & Forster A Fairfax Company      Lanlan Chen                      Surety Bond           Contingent                                           Unliquidated
      Surety Department                     Tel: (908) 283-1849                                    Unliquidated
      305 Madison Avenue                    Lanlan.chen@wtw.com
      Morristown, NJ 07960

7     Socotec Advisory LLC                  advisorybilling@socotec.us       Professional                                                               $486,917
      2500 Northwinds Parkway                                                Services
      Suite 400
      Alphraetta, GA 30009

8     USI Insurance Services                Amy Silverman                    Professionals                                                               $305,482
      180 Park Avenue, 1st Floor            Tel: (973) 315-0471              Services
      Florham Park, NJ 07932                Fax: (866) 943-4039




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 1
             Case 24-22548-CMG                  Doc 1        Filed 12/22/24 Entered 12/22/24 17:37:06                                   Desc Main
                                                            Document      Page 9 of 14

    Debtor       CCA  Construction, Inc.
                 _______________________________________________________                           Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and       Nature of the claim    Indicate if   Amount of unsecured claim
     mailing address, including zip code   email address of creditor         (for example, trade    claim is      If the claim is fully unsecured, fill in only unsecured
                                           contact                           debts, bank loans,     contingent, claim amount. If claim is partially secured, fill in
                                                                             professional           unliquidated, total claim amount and deduction for value of
                                                                             services, and          or disputed collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                    Total claim, if   Deduction for      Unsecured
                                                                                                                    partially         value of           claim
                                                                                                                    secured           collateral or
                                                                                                                                      setoff

9     Analysis Group, Inc.                 Tel: (617) 425-8000               Professionals           Disputed                                           $190,101
      111 Hunting Avenue                   Fax: (617) 425-8001               Services
      14th Floor
      Boston, MA 02199


10    FTI Consulting, Inc.                 kern.nandan@fticonsulting.com     Professionals                                                               $137,807
      16701 Melford Blvd.                                                    Services
      Suite 200
      Bowie, MD 20715

11    Pillsbury Winthrop Shaw              geoffrey.sant@pillsburylaw.com Professionals                                                                  $118,349
      Pittman LLP                          Tel: (212) 858-1000            Services
      31 West 52nd Street                  Fax: (212) 858-1500
      New York, NY 10019-6131

12    Squire Patton Boggs                  michael.curto@squirepb.com        Professionals                                                               $40,922
      1000 Key Tower                       Tel: (202) 457-6000               Services
      127 Public Square
      Cleveland, OH 4114

13    Counsel Press, Inc.                  bwhite@counselpress.com           Professionals                                                               $36,000
      10 East 40th Street                  Fax: (718) 696-0612               Services
      New York, NY 10016


14    Graphite Engineering LTD.            cfrancis@baycourtlaw.com          Professionals                                                               $14,438
      Baycourt Law Chambers                Fax: (242) 323-8036               Services
      15 Cumberland & Duke Street
      Nassau, Bahamas

15    LYTTC, Inc.                           judgyhugh12@gmail.com            Trade Debt                                                                  $3,835
      370 North Avenue
      Dunellen, NJ 08812


      Thomas Reuters                       vikki.murphy@thomsonreuters.com   Contracts & Leases
16
      PO Box 6292                                                                                                                                        $2,263
      Carol Stream, IL 60197


17    Quill Corporation                    orders@quill.com                  Trade Debt                                                                  $2,093
      PO Box 37600
      Philadelphia, PA 19101


18    CSC                                  natasha.evans@cscglobal.com       Trade Debt                                                                  $2,009
      PO Box 7410023
      Chicago, IL 60674-5023


19    Kelly Mac Interiorscapes Inc.        tammi@kellymacplants.com          Contracts & Leases                                                          $512
      26 Sky Manor Road
      Pittstown, NJ 08867


20    Quench USA, Inc.                     collections@quenchonline          Trade Debt                                                                  $312
      P.O. Box 735777
      Dallas, TX 75373




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                       page 2
Docusign Envelope ID: 374CC7CC-8982-430A-B922-4FDAB09E46CC
            Case 24-22548-CMG            Doc 1    Filed 12/22/24 Entered 12/22/24 17:37:06           Desc Main
                                                 Document     Page 10 of 14


                                                      WRITTEN CONSENT
                                                OF THE SPECIAL COMMITTEE
                                                             OF
                                                  CCA CONSTRUCTION, INC.
            Dated: December 22, 2024

            Pursuant to the authority granted to it under the resolutions of the sole stockholder of CCA
            CONSTRUCTION, INC., a Delaware corporation (the “Company”), dated November 2, 2024,
            authorizing the formation of a special committee of the Company’s Board of Directors (the
            “Special Committee”), the undersigned, being the sole member of the Special Committee, does
            hereby declare that said actions shall be effective as of the date hereof:

                            WHEREAS, in accordance with Section VI of the Board of
                    Directors Governance Policy, dated as of April 25, 2016, the sole
                    stockholder of the Company delegated and transferred to the Special
                    Committee the requisite power and authority to review, analyze,
                    recommend, approve, and execute restructuring alternatives should other
                    members of the Board of Directors (the “Board”) of the Company recuse
                    themselves;

                             WHEREAS, the other members of the Board have recused
                    themselves from any evaluation or approval of the currently available
                    restructuring and financing alternatives and the Special Committee therefore
                    constitutes a quorum of the Board, with requisite power and authority to
                    evaluate and approve any restructuring alternative;

                             WHEREAS, the Special Committee has reviewed the materials
                    presented by the management and the advisors of the Company regarding
                    the liabilities and liquidity situation of the Company, the restructuring
                    alternatives available to it and the impact of the foregoing on the Company’s
                    businesses, and available alternatives for financing of the Company;

                            WHEREAS, the Special Committee has had the opportunity to
                    consult with the management and the advisors of the Company and fully
                    consider each of the restructuring and financing alternatives available to the
                    Company;

                             WHEREAS, the Special Committee has determined that it is
                    desirable and in the best interests of the Company and its creditors that a
                    petition be filed by the Company seeking relief under chapter 11 of title 11
                    of the United States Code (the “Bankruptcy Code”) in the United States
                    Bankruptcy Court for the District of New Jersey (the “Bankruptcy Court”).




                                                              1
Docusign Envelope ID: 374CC7CC-8982-430A-B922-4FDAB09E46CC
            Case 24-22548-CMG            Doc 1    Filed 12/22/24 Entered 12/22/24 17:37:06           Desc Main
                                                 Document     Page 11 of 14



            BE IT

            Chapter 11 Petition

                             RESOLVED, that in the judgment of the Special Committee, it is
                     desirable and in the best interests of the Company, its creditors and other
                     parties in interest, that the Company file or cause to be filed a voluntary
                     petition for relief under the provisions of chapter 11 of the Bankruptcy Code
                     with the Bankruptcy Court; and

                             RESOLVED, that each of the officers of the Company (the
                     “Authorized Officers”), acting alone or with one or more other Authorized
                     Officers be, and they hereby are, authorized and empowered to execute and
                     file on behalf of the Company all petitions, schedules, lists and other
                     motions, papers or documents, and to take any and all action that they deem
                     necessary or proper to obtain such relief, including, without limitation, any
                     action necessary to maintain the ordinary course operation of the
                     Company’s business and any and all action that they deem necessary or
                     proper in connection with the Company’s chapter 11 case;

            Debtor-in-Possession Financing

                            RESOLVED, that in connection with the commencement of the
                     chapter 11 case, the Authorized Officers be, and hereby are, authorized,
                     empowered and directed, in the name and on behalf of the Company to
                     negotiate, execute and deliver the Debtor-in-Possession Credit Agreement,
                     dated on or about December 23, 2024 (as may be amended, restated, or
                     supplemented, the “DIP Credit Agreement”) by and among the Company
                     and CSCEC Holding Company, Inc. in the aggregate amount of $40 million
                     with the execution and the performance by the Company of its obligations
                     thereunder and the transactions contemplated thereby to be desirable,
                     advisable and in the best interests of the Company;

                             RESOLVED, that the Authorized Officers may take such additional
                     action and to execute and deliver each other agreement, instrument or
                     document to be executed and delivered, in the name and on behalf of the
                     Company, pursuant thereto or in connection with the DIP Credit
                     Agreement, all with such changes therein and additions thereto as any
                     Authorized Officer approves, such approval to be conclusively evidenced
                     by the taking of such action or by the execution and delivery thereof;

            Retention of Professionals

                            RESOLVED, that the Authorized Officers be, and they hereby are,
                     authorized and directed to employ the law firm of Debevoise & Plimpton
                     LLP as general bankruptcy counsel to represent and assist the Company in
                     connection with any case commenced by the Company under the



                                                              2
Docusign Envelope ID: 374CC7CC-8982-430A-B922-4FDAB09E46CC
            Case 24-22548-CMG            Doc 1    Filed 12/22/24 Entered 12/22/24 17:37:06            Desc Main
                                                 Document     Page 12 of 14



                     Bankruptcy Code and to take any and all actions to advance the Company’s
                     rights and obligations;

                             RESOLVED, that the Authorized Officers be, and they hereby are,
                     authorized and directed to employ the law firm of Cole Schotz P.C. as
                     bankruptcy co-counsel to represent and assist the Company in carrying out
                     its duties under the Bankruptcy Code and to take any and all actions to
                     advance the Company’s rights and obligations;

                             RESOLVED, that the Authorized Officers be, and they hereby are,
                     authorized and directed to employ the firm of BDO Consulting Group, LLC
                     as financial advisor to represent and assist the Company in carrying out its
                     duties under the Bankruptcy Code and to take any and all actions to advance
                     the Company’s rights and obligations;

                             RESOLVED, that the Authorized Officers be, and they hereby are,
                     authorized and directed to employ the firm of Kurtzman Carson
                     Consultants, LLC dba Verita Global (“Verita”) as administrative advisor to
                     represent and assist the Company in carrying out its duties under the
                     Bankruptcy Code and to take any and all actions to advance the Company’s
                     rights and obligations, and to retain Verita as claims and noticing agent in
                     accordance with 28 U.S.C. § 156(c);

                            RESOLVED, that the Authorized Officers be, and they hereby are,
                     authorized and directed to employ any other professionals to assist the
                     Company in carrying out its duties under the Bankruptcy Code and to take
                     any and all actions to advance the Company’s rights and obligations; and

                             RESOLVED, that the Authorized Officers be, and they hereby are
                     authorized and directed to execute appropriate retention agreements, pay
                     appropriate retainers and cause to be filed appropriate applications for
                     authority to retain the services of the foregoing professionals as necessary;

            Further Actions and Prior Actions

                              RESOLVED, that in addition to the specific authorizations
                     heretofore conferred upon the Authorized Officers, each of the officers of
                     the Company or their designees shall be, and each of them, acting alone,
                     hereby is, authorized, directed and empowered in the name of, and on behalf
                     of, the Company, to take or cause to be taken any and all such further
                     actions, to execute and deliver any and all such agreements, certificates,
                     instruments and other documents and to pay all expenses, including filing
                     fees, in each case as in such officer or officers’ judgment shall be necessary
                     or desirable to fully carry out the intent and accomplish the purposes of the
                     Resolutions adopted herein;

                            RESOLVED, that all acts, actions and transactions relating to the
                     matters contemplated by the foregoing Resolutions done in the name of and


                                                               3
Docusign Envelope ID: 374CC7CC-8982-430A-B922-4FDAB09E46CC
            Case 24-22548-CMG            Doc 1    Filed 12/22/24 Entered 12/22/24 17:37:06            Desc Main
                                                 Document     Page 13 of 14



                     on behalf of the Company, which acts would have been approved by the
                     foregoing Resolutions except that such acts were taken before these
                     resolutions were certified, are hereby in all respects approved and ratified;
                     and

                             RESOLVED, that this written action of the Special Committee may
                     be executed in counterparts, each of which shall be deemed to be an original
                     and all of which shall together constitute but one and the same instrument,
                     and that a copy of this written action of the Special Committee shall be filed
                     with the minutes of the proceedings of the board of directors of the
                     Company.




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            Case 24-22548-CMG            Doc 1    Filed 12/22/24 Entered 12/22/24 17:37:06   Desc Main
                                                 Document     Page 14 of 14



            IN WITNESS WHEREOF, the undersigned, being the sole member of the Special Committee of
            CCA CONSTRUCTION, INC, has duly executed this Written Consent to be effective as of the
            date written above.




                                                             By:   _______________________________
                                                                   Name: Elizabeth Abrams
                                                                   Title: Special Committee Member




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